Case 20-06041-sms   Doc 1-3 Filed 02/18/20 Entered 02/18/20 16:22:36   Desc
                    Exhibit 3 - Final Judgment Page 1 of 3




                EXHIBIT 3
Case 20-06041-sms    Doc 1-3 Filed 02/18/20 Entered 02/18/20 16:22:36            Desc
                     Exhibit 3 - Final Judgment Page 2 of 3
        FILED 12/4/2017 10:36 AM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIA




                                                                         -6




                                                                                   GPY
Case 20-06041-sms   Doc 1-3 Filed 02/18/20 Entered 02/18/20 16:22:36   Desc
                    Exhibit 3 - Final Judgment Page 3 of 3
